This is an application for a supersedeas to stay proceedings upon a judgment of the superior court of Los Angeles County in an action entitled Title Insurance and Trust Company v. California Development Company et al. The petitioners have appealed from said judgment and have filed an undertaking on appeal in the sum of three hundred dollars, but have not yet filed a transcript on appeal and their appeal has not been entered on the register of actions in this court. The application should have been entitled, filed, and registered as a motion in the said appeal, as explained in the opinion this day filed in Southern PacificCompany et al. v. Superior Court, (S.F. No. 6718), ante, p. 250, [139 P. 69], upon a similar application to stay the same judgment.
The facts are substantially identical and for the reasons given in that opinion the application for a supersedeas is denied. *Page 795 